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IN THE UNITED STATES DISTRICT COURT 054 "" \
WESTERN DISTRICT OF TENNESSEE 06 / / O._Q

EASTERN DIVISION

 

TIMOTHY D. HARDIN,

 

Plaintiff,

and

LEROY-SOMER NORTH AMERICA,
Intervening Plaintiff,

v. Civil No.: 1 - 04 -1032 _ T _ AN
SKYJACK, rNC.; NES;

NES RENTALS; NATIONAL
EQUIPMENT SERvICES; AND
AN UNKNOWN “NES” ENTITY,

\-/\_/\-/\-/VVV\-/V\_I\_/V\_/`/\/W`_/V

Defendants.

 

ORDER

 

On March l, 2005, the Court entered an order suspending case scheduling and holding
the case scheduling in abeyance pending mediation of this case, Which the parties had scheduled
for June 23, 2005. All of the parties have jointly filed a Motion for a revised Order Suspending
Case Scheduling and Holding the Case Scheduling in Abeyance pending mediation of this case,
Which the parties have rescheduled for Septernber 26, 2005, in order to allow sufficient time for
the Brambles defendants to Serve their Initial Disclosures and prepare for mediation and for
Magnetek Reynosa and Magnetek to be served and participate in the mediation if they so desire.
The parties assert that judicial economy and significant cost savings will be realized by the Court

and the parties by allowing mediation to proceed before formal scheduling of the case.

This document entered on the dock

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The Court agrees that judicial economy and cost savings Will be realized by the Court and
the parties by allowing the mediation to proceed before formal scheduling of this case.
Accordingly, the parties are hereby ORDERED to notify this court on or before October ll,
2005 of the result of the mediation In the interim, the case scheduling shall be held in abeyance
pending the mediation; and in the event the mediation is not successful, a scheduling conference

Will be Set at that time. lT lS SO ORDERED.

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s. rHoMAs ANDE’iisoN
u. s. MAGISTRATE JUDGE

Date: @,j /0’, ZOOJ/

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This notice confirms a copy of` the document docketed as number 57 in
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August ll, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

